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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

BASF PLANT SCIENCE, LP,                  )
                                         )
             Plaintiff,                  )
                                         )
      v.                                 ) C.A. No. 17-421-MAK
                                         )
NUSEED AMERICAS INC.,                    )
                                         )
             Defendant.                  )


       REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

                                          YOUNG CONAWAY STARGATT &
                                          TAYLOR, LLP

                                          James M. Lennon (No. 4570)
                                          Samantha G. Wilson (No. 5816)
                                          Rodney Square
                                          1000 North King Street
                                          Wilmington, DE 19801
                                          (302) 571-6600
                                          jlennon@ycst.com
                                          swilson@ycst.com

                                          Attorneys for Defendant

OF COUNSEL:

Lawrence M. Sung
Mary Sylvia
WILEY REIN LLP
1776 K Street, NW
Washington, DC 20006
(202) 719-7000
lsung@wileyrein.com
msylvia@wileyrein.com

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                                             ARGUMENT

        BASF fails to meet its burden of establishing subject matter jurisdiction under the

Declaratory Judgment Act. No actual case or controversy exists because the threat of litigation

alleged by BASF is unsupported legally and factually. First, Nuseed Americas has no right, title

or interest in the patents-in-suit, and thus, could not bring suit against BASF on these patents.

Second, BASF has not shown that its business discussions with Nuseed Americas gave rise to

circumstances of “sufficient immediacy and reality” warranting a declaratory judgment.

        BASF’s Answering Brief distracts from the key issue – it named the wrong party as the

sole defendant. It proceeds to misapply and overstate the case law, and casts aspersions on

Nuseed Americas’ offer to shed light on the situation. More troubling, the Answering Brief

reveals that BASF was aware of several crucial facts when it filed the Complaint that directly

undermine its allegations. BASF requests jurisdictional discovery seeking to gain access to

confidential information about entities it has failed to name in this suit. BASF even suggests that

the Court transfer this case to a new venue purportedly to cure the jurisdictional problem of

capturing entities it failed to name here.

        For the reasons set forth below and in its Opening Brief, Nuseed Americas respectfully

asks the Court to grant its motion to dismiss pursuant to Federal Rules of Civil Procedure

12(b)(1), (6) and/or (7) for lack of subject matter jurisdiction, failure to state a claim, and/or for

failure to join one or more indispensable parties.

                1.      There are distinct Nuseed corporate entities involved in
                        the worldwide commercialization of genetically
                        modified crop production of omega-3 oil.

        The crux of this case is that there are different Nuseed corporate entities around the world

in the business of commercializing genetically modified crop production of omega-3 oil, and

BASF’s claims regarding the patents-in-suit are directed at the wrong one. Whether in mistaken
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belief or by failed design, BASF has named Nuseed Americas as the sole defendant while

seeking to attack patents owned by others. As set forth in its Opening Brief, Nuseed Americas is

the commercial partner of the owners of the patents-in-suit, Commonwealth Scientific and

Industrial Research Organisation (“CSIRO”) and the Grains Research and Development

Corporation (“GRDC”). Nuseed Proprietary Limited (“Nuseed Pty. Ltd.”), not defendant Nuseed

Americas, is an exclusive licensee, in a particular field of use, of the patents-in-suit.

        Inexplicably, BASF clings to its erroneous allegation in the Complaint that Nuseed

Americas is the exclusive licensee to the patents-in-suit, essentially demanding in its Answering

Brief, D.I. 14 at 3-4, that Nuseed Americas produce a third-party agreement (to which Nuseed

Americas is not a party) to prove that it is a wrongly named party. BASF has not cited any legal

authority to require a wrongly named defendant to bear the burden of proving this negative. At

bottom, BASF’s problem is that it treats Nuseed Americas, Nuseed Pty. Ltd., CSIRO and GRDC

collectively.1 But there is no basis in law or fact to do so.

        Moreover, there is no precedent or convention to suggest that a commercial partner must

have patent rights as a condition precedent to discussing business opportunities involving the

technology to which such patent rights may pertain. BASF entered into a confidential negotiation

with Nuseed Americas regarding the global commercialization of genetically modified crop

production of omega-3 oil. See Declaration of Andry Andriankaja (“Adriankaja Decl.”), D.I.

15 Exh. B. But Nuseed Americas’ authority to negotiate a commercial agreement involving the

technology on behalf of CSIRO and GRDC is not tantamount to Nuseed Americas having a

right, title or interest in CSIRO and GRDC patents. Nowhere does the Confidentiality Agreement

1
 For example, BASF refers to “a history of patent disputes, globally, between the parties,”
Adriankaja Decl., D.I. 15 at ¶4, but points only to unrelated litigation outside the United States
between BASF and CSIRO, with no involvement by Nuseed Americas, Nuseed Pty. Ltd, or
GRDC.
                                                   2
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or its Amendment represent that Nuseed Americas is a licensee of any CSIRO or GDRC patent,

much less the patents-in-suit. See id. And as set forth infra, none of the other documents upon

which BASF relies suggest anything different.

       In fact, the Answering Brief reveals that BASF possessed information, which it chose not

to present in support of its Complaint, that fully informed the circumstances surrounding the

patents-in-suit. That BASF forged ahead to name Nuseed Americas as the sole defendant is a

distress of its own making. Accordingly, the Court should reject BASF’s request for

jurisdictional discovery.2

               2.      BASF’s own supporting documents show that CSIRO
                       and GRDC are indispensable parties.

       Nuseed Americas has no right, title or interest in the patents-in-suit. The only basis for

BASF’s allegation that Nuseed Americas is an exclusive licensee is a press release referring to

“Nuseed.” See D.I. 1 at ¶15. Even if the Court were to assume this vague and ambiguous

reference to mean Nuseed Americas, which it does not, BASF’s Answering Brief confirms that

CSIRO and GRDC are indispensable parties.

       In its Answering Brief, BASF attempts to supplement the record with two letters

apparently sent by CSIRO and GRDC stating that Nuseed Pty. Ltd. was the “exclusive global

licensee of the CSIRO and GRDC technology.” Adriankaja Decl., D.I. 15 Exhs. B & C. BASF,

however, ignores the critical definition of the technology as “Omega 3 polyunsaturated fatty

acids from canola plants.” Id. (emphasis added). Unsurprisingly, BASF chose not to rely upon
2
 In both cases BASF cites in support of its request for jurisdictional discovery, D.I. 14 at 4,
courts in this District denied the respective plaintiffs’ motions for jurisdictional discovery. See
Moretti v. Hertz Corp., C.A. No. 14-469-LPS, 2015 WL 1383097, at *5 (D. Del. Mar. 23, 2015)
(“Given the Court’s conclusions, there is neither need nor basis for Plaintiff to take jurisdictional
discovery.”); LG.Phillips LCD Co. v. Chi Mei Optoelectronics Corp., 551 F. Supp. 2d 333, 343
(D. Del. 2008) (“Plaintiff’s Alternative Motion for Leave to Use Discovery or, in the Further
Alternative, to Conduct Jurisdictional Discovery (D.I.80) is DENIED as moot.”).


                                                  3
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these documents in its Complaint. The field-of-use restrictions to canola plainly show that

CSIRO and GRDC did not convey to Nuseed Pty. Ltd., much less Nuseed Americas, all

substantial rights to the licensed patents, including the patents-in-suit.3

       It is undisputed that BASF was aware that the licensed patents, including the patents-in-

suit, contain claims that broadly cover plants other than canola. See Adriankaja Decl., D.I. 15

Exh. C. By its own documents, therefore, BASF knew at least as early as January 16, 2017, that

CSIRO and GRDC did not convey to Nuseed Pty. Ltd. all substantial rights to the licensed

patents, including the patents-in-suit. Thus, even if Nuseed Pty. Ltd. were named a party, that

would not suffice to confer standing without CSIRO and GRDC in a suit over the licensed

patents, notwithstanding the moniker of exclusive licensee. Moreover, any doubt would have

been removed by the statements in both the CSIRO and GRDC letters that “[o]f course, any

negotiated resolution would require an agreement executed by all parties.” See id. Exhs. B & C

(emphasis added). The law is well-settled that a retained right by the patentee for pre-approval of

licensee action contravenes the transfer of all substantial rights to a patent, which in turn, vitiates

the standing of the licensee to sue under the licensed patents without joining the patentee. See

Amgen, Inc. v. Ariad Pharms., Inc., 513 F. Supp. 2d 34, 41 (D. Del. 2007) (citing Sicom Sys. Ltd.

v. Agilent Techs, Inc., 427 F.3d 971 (Fed. Cir. 2005)); Propat Int’l Corp. v. RPost, Inc., 473 F.3d

1187, 1192-93 (Fed. Cir. 2007). This is precisely the case here, making all the more curious

BASF’s decision to file its Complaint in this venue against only this Defendant.




3
Although the CSIRO and GRDC letters may refer to Nuseed Americas as an “affiliate” of the
Nuseed Pty. Ltd., see Adriankaja Decl., D.I. 15 Exhs. B & C, this does not establish that Nuseed
Americas holds any right, title or interest in the patents-in-suit.
                                                   4
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               3.      Dismissal of the case against Nuseed Americas is
                       appropriate, and no basis exists for the transfer of this
                       case.

       Because Nuseed Americas has no right, title or interest in the patents-in-suit, it is

axiomatic that this lawsuit cannot proceed without an entity that has right, title or interest in the

patents-in-suit, such as CSIRO and GRDC. The cases cited in BASF’s Answering Brief are

inapposite. See D.I. 14 at 5-7. For example, BASF relies heavily on Amgen, Inc. v. Ariad

Pharms., Inc., 513 F. Supp. 2d 34 (D. Del. 2007), for its ambiguous assertion that CSIRO and

GRDC are not necessary and/or indispensable parties under Federal Rule of Civil Procedure 19.

Neither Amgen nor any other case BASF cites addressed a situation like the present case, where a

party with no right, title or interest in the patents-in-suit is the sole named defendant.

       Even if Nuseed Americas were a licensee of the patents-in-suit, which it is not, CSIRO

and GRDC would still be necessary and indispensable parties. See A123 Sys., Inc. v. Hydro-

Quebec, 626 F.3d 1213, 1217 (Fed. Cir. 2010) (“Under long-standing prudential standing

precedent, an exclusive licensee with less than all substantial rights in a patent, such as a field-of-

use licensee, lacks standing to sue for infringement without joining the patent owner.”). Notably,

despite its failure to name CSIRO and GRDC as defendants, BASF does not dispute in its

Answering Brief that CSIRO and GRDC are necessary parties. See D.I. 14 at 4-7. Nor does

BASF correctly address the four-factor test for indispensability. See id. at 6; Amgen, 513 F.

Supp. at 42 n.47 (citing Gardiner v. Virgin Islands Water & Power Authority, 145 F.3d 635, 640

(3d Cir. 1998)). As set forth in the Gardiner case:

       Rule 19(b) identifies four factors to consider when a necessary party is
       indispensable: ‘first, to what extent a judgment rendered in the person’s absence
       might be prejudicial to the person or those already parties; second, the extent to
       which, by protective provisions in the judgment, by the shaping of relief, or other
       measures, the prejudice can be lessened or avoided; third, whether a judgment
       rendered in the person’s absence will be adequate; fourth, whether the plaintiff
       will have an adequate remedy if the action is dismissed for nonjoinder.’
                                                   5
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Id. Each of the Gardiner factors favors dismissal.

       First, even if Nuseed Americas were a licensee of the patents-in-suit, which it is not, such

a license (like that between Nuseed Pty. Ltd, CSIRO and GRDC) would pertain only to the field

of plant-based production of long chain omega-3 oil in genetically modified canola seed,

whereas the patents-in-suit include claims broadly relating to genetically modified crop

production of omega-3 oil. Therefore, a judgment of invalidity of the claims of the patents-in-suit

in the absence of CSIRO and GRDC would be prejudicial because the interests of CSIRO and

GRDC in the patents-in-suit are not co-extensive with the licensed rights and may not be

adequately protected. Second and third, this prejudice could not be lessened or avoided, and a

judgment rendered in the absence of CSIRO and GRDC would not be adequate, because, for

example, the patent claims may not be rewritten as a matter of law to align only with the licensed

field-of-use scope or otherwise parsed. Fourth, BASF admits it has an adequate remedy at law.

See D.I. 14 at 6 (asserting an alternate district court forum). In addition, the U.S. Patent and

Trademark Office is authorized under The Leahy-Smith America Invents Act (AIA) to hear

patent invalidity challenges. Alternatively, BASF could have simply brought suit against the

proper parties in a proper venue. Accordingly, all four Gardiner factors favor dismissal of

BASF’s Complaint absent joinder of CSIRO and GRDC.

       Furthermore, the transfer of this case, against only Nuseed Americas, to the U.S. District

Court for the Eastern District of Virginia as requested by BASF, D.I. 14 at 6 n.2, 13-14, or to any

other district court, would be improper. The case on which BASF relies in its Answering Brief

for this request, id. at 13 n.3, is inapposite. In Day v. 21st Century Centennial Ins. Co., C.A. No.

12-1096-LPS, 2014 WL 3909533 (D. Del. Aug. 11, 2014), the Court did not address a case, like

here, where a necessary and indispensable party is absent. BASF cites no authority for the



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transfer of a case to facilitate personal jurisdiction over a putative foreign defendant. The Court

should reject BASF’s request for transfer.

               4.      There is no threat of imminent litigation here where the
                       parties have been engaged in ongoing discussions, and
                       where Nuseed Americas has no rights to sue under the
                       patents-in-suit.

       BASF does not, and indeed cannot, dispute that Nuseed Americas, with no right, title or

interest in the patents-in-suit, lacks authority to bring suit against BASF on these patents as a

matter of law. Whether or not BASF genuinely believed litigation to be “inevitable and

imminent,” D.I. 1 at ¶18, becomes moot in light of this legal fact. In its Complaint, BASF fails to

set forth any ground other than the parties’ interactions that allegedly give rise to actual case or

controversy. BASF’s improper attempt in its Answering Brief to supplement the record with a

vague and arguably irrelevant assertion of “production in the U.S. by end of the decade pending

necessary regulatory approvals,” Adriankaja Decl., D.I. 15 at ¶5, does not cure this deficiency.

       Furthermore, BASF ignores the fatal infirmity to declaratory judgment jurisdiction

manifest by its ongoing post-Complaint business discussions with Nuseed Americas. In its

Answering Brief, BASF offers only a perfunctory statement attempting to minimize this damage.

       Likewise, Nuseed Americas seems to suggest that once declaratory judgment
       litigation has been commenced, any further negotiations or discussions between
       the parties destroys the case-or-controversy that prompted the declaratory
       judgment action. This is wrong as a matter of law. Samsung Electronics Co., Ltd.
       v. ON Semiconductor Corp., 541 F. Supp. 2d 645, 649 (D. Del. 2008) (“The
       continuation of licensing negotiations is not dispositive with regard to the
       existence of an actual controversy.”).

D.I. 14 at 11 (emphasis added). And BASF misstates the law in this regard. In Samsung, this

Court did not address post-Complaint interactions between the parties:

       On November 20, 2006, Mr. Shim advised Mr. Botsch that the parties’ positions
       remained far apart, and informed him that Samsung had filed this declaratory
       judgment action. Mr Shim indicated that Samsung still preferred to settle the
       matter, and informed Mr. Botsch of Samsung’s counteroffer, a cross-license

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       encompassing the ’594, ’644 and ’001 patents and all Samsung’s patents, and a $1
       million payment to ON Semiconductor. ON Semiconductor immediately rejected
       Samsung’s counteroffer. Following ON Semiconductor’s rejection of Samsung’s
       counteroffer, Mr. Shim did not request or suggest continuing licensing
       discussions, and the parties have had no further licensing discussions.”).

Samsung Elecs. Co. v. ON Semiconductor Corp., 541 F. Supp. 2d 645, 647-48 (D. Del. 2008)

(emphasis added). The court in Samsung, therefore faced a different factual scenario than the

present case. A fuller view of the court’s statements in Samsung belies the implication in BASF’s

Answering Brief that post-Complaint interactions between the parties have no place in a

declaratory judgment jurisdiction inquiry:

       The record evidence demonstrates that ON Semiconductor accused Samsung of
       infringing the ’594, ’644 and ’001 patents, by letters dated September 15, 2005
       and April 24, 2006, and had made a “studied and considered determination” of
       infringement. Samsung has maintained that its DRAMs do not infringe the
       patents-in-suit, and that the patents-in-suit are invalid. The continuation of
       licensing negotiations is not dispositive with regard to the existence of an actual
       controversy. SanDisk, 480 F.3d at 1381.

Samsung, 541 F. Supp. at 649 (internal citations omitted). Accordingly, in Samsung, the court

opined only that the context of a (pre-Complaint) licensing negotiation did not immunize actions

otherwise reflecting an actual controversy. The citation to SanDisk, where the U.S. Court of

Appeals for the Federal Circuit merely noted in passing that MedImmune involved a patent

license, further clarifies that the court in Samsung did not consider, much less disparage, the

effect of post-Complaint interactions between the parties on declaratory judgment jurisdiction.

SanDisk Corp. v. STMicroelectronics, Inc., 480 F.3d 1372, 1381 (Fed. Cir. 2007) (citing

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118 (2007)). Here, BASF’s undisputed ongoing

post-Complaint interactions with Nuseed Americas, including discussions regarding the patents-

in-suit, belie BASF’s assertion that it believed the parties were at an impasse in business

discussions.



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        Nuseed Americas disputes the factual allegations that BASF raises for the first time in its

Answering Brief. See Adriankaja Decl., D.I. 15 at ¶¶8-13. Indeed, BASF contradicts itself, for

example, where the Adriankaja Declaration refers to the April 13, 2017 meeting between the

parties as a “face-to-face meeting,” id. at ¶10, and on the other hand, the Complaint refers to the

meeting as a “telephone conference,” D.I. 1 at ¶18. The vague assertions in the Adriankaja

Declaration as to who said what (devoid of any context), with which Nuseed Americas disagrees,

are both untimely and unhelpful. But the Court need not resolve these factual disputes. What is

clear and undisputed is that BASF and Nuseed Americas have continued to discuss a business

arrangement, including the patents-in-suit, after BASF filed its Complaint. This belies BASF’s

allegation that there was a clear and imminent threat of litigation when BASF filed its

Complaint, or for that matter, at any time since.

        The absence of “sufficient immediacy and reality” requires the dismissal of this case for

lack of an actual case or controversy. Even if BASF were to seek, and the Court were to grant,

leave to amend the Complaint to name other parties, BASF’s request for leave to amend, D.I. 14

at 12-13, discounts the fact that dismissal with prejudice is appropriate as to Nuseed Americas

because the lack of right, title or interest in the patents-in-suit renders futile any further

proceeding against Nuseed Americas. Cf. S3 Graphics Corp. v. ATI Techs. ULC, C.A. No. 11-

1298-LPS, 2015 WL 8999513, at *2 n.2 (D. Del. Dec. 11, 2015) (citing Semiconductor Energy

Lab. Co. v. Nagata, 706 F.3d 1365, 1367 (Fed. Cir. 2013) (noting the Federal Circuit’s

affirmance of a district court’s dismissal with prejudice of declaratory judgment claims in the

absence of infringement allegations possibly motivated by the futility of amendment to add the

affirmative defense of assignor estoppel)).




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                                         CONCLUSION

         BASF has failed to provide a sufficient basis for its Complaint to survive Nuseed

Americas’ motion to dismiss. Accordingly, the Court should dismiss the Complaint for at least

three reasons. First, pursuant to Federal Rule of Civil Procedure 12(b)(6), BASF has failed to

state a claim upon which relief may be granted because Nuseed Americas is an improper party

Second, pursuant to Federal Rules of Civil Procedure 12(b)(7), BASF has failed to join one or

more indispensable parties under Federal Rule of Civil Procedure 19. Third, pursuant to Federal

Rule of Civil Procedure 12(b)(1) and 28 U.S.C. § 2201(a), there is no case or controversy

between Nuseed Americas and BASF and prudential reasons exist regarding why this Court

should decline to hear the case.




Dated: August 4, 2017                              YOUNG CONAWAY STARGATT &
                                                   TAYLOR, LLP

                                                   /s/ Samantha G. Wilson
                                                   James M. Lennon (No. 4570)
                                                   Samantha G. Wilson (No. 5816)
                                                   Rodney Square
                                                   1000 North King Street
OF COUNSEL:                                        Wilmington, DE 19801
                                                   (302) 571-6600
Lawrence M. Sung
                                                   jlennon@ycst.com
Mary Sylvia
                                                   swilson@ycst.com
WILEY REIN LLP
1776 K Street, NW                                  Attorneys for Defendant Nuseed Americas Inc.
Washington, DC 20006
(202) 719-7000
lsung@wileyrein.com
msylvia@wileyrein.com
01:22225801.1




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